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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



DYLAN TOKAR,

               Plaintiff,

       v.                                            Civil Action No. 16-cv-2410 (RC)

UNITED STATES DEPARTMENT OF
JUSTICE,

               Defendant.


     CONSENT MOTION FOR EXTENSION OF TIME TO FILE OPPOSITION TO
     DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND PLAINTIFF’S
        CROSS-MOTION FOR SUMMARY JUDGMENT, AND TO ADJUST
             REMAINING DEADLINES IN BRIEFING SCHEDULE

       Pursuant to Federal Rule of Civil Procedure 6(b)(1), Plaintiff, by and through

undersigned counsel, moves the Court for an extension of 10 days to, and including, June 3,

2019, to file its opposition to Defendant’s motion for summary judgment and Plaintiff’s cross-

motion for summary judgment, and also requests a corresponding adjustment to the remaining

deadlines in the briefing schedule. As grounds for the requested extension, Plaintiff states as

follows.

       1. By minute order dated April 3, 2019, the Court entered the following briefing

            schedule: Defendant’s renewed motion for summary judgment due April 11, 2019;

            Plaintiff’s opposition and cross-motion due May 24, 2019; Defendant’s reply and

            opposition due June 17, 2019; and Plaintiff’s reply due July 5, 2019.

       2. Plaintiff requests an extension of 10 days, to and including June 3, 2019, to file its

            opposition to Defendant’s motion for summary judgment and Plaintiff’s cross-motion




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   for summary judgment. This is the first time that Plaintiff has moved for an extension

   of the motion for summary judgment briefing schedule, and there is good cause for

   the requested extension. Plaintiff makes this request due to undersigned counsel’s

   intervening litigation deadlines and work-related travel during May 2019, as well as

   the need to coordinate a supporting declaration in connection with Plaintiff’s filing.

3. After conferring with counsel for Defendant, who consents to the relief sought in this

   motion, Plaintiff requests an adjustment to the remaining deadlines in the briefing

   schedule as follows:

       •   Plaintiff’s opposition and cross-motion due June 3, 2019;

       •   Defendant’s reply and opposition due June 27, 2019; and

       •   Plaintiff’s reply due July 15, 2019.

4. Pursuant to Local Rule 7(m), Plaintiff, through counsel, advised Defendant’s counsel

   of the relief requested in this motion and Defendant’s counsel advises that he

   consents to the requested extension and proposed adjustment to the remaining

   deadlines in the briefing schedule.

5. A proposed order is attached.

                                      Respectfully submitted,

                                      /s/ Jennifer A. Nelson
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